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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

  EDWARD S. RASALAM,                           §
                                               §
                Plaintiff,                     §    CIVIL ACTION NO. 4:21-CV-00763-
  v.                                           §               SDJ-CAN
                                               §
  WAYFAIR, LLC, ET AL.,                        §
                                               §
                Defendants.                    §

                                  SCHEDULING ORDER

        The Court, after reviewing the case management report required by Federal
 Rule of Civil Procedure 26(f) [Dkt. 26], enters this case-specific order which controls
 disposition of this action pending further order of the Court. The following actions
 shall be completed by the dates indicated.1

                                        DEADLINES

  01/11/2022                       Deadline for motions to transfer.

  02/15/2022                       Deadline to add parties.

  03/15/2022                       Disclosure of expert testimony pursuant to Federal
                                   Rule of Civil Procedure 26(a)(2) and Local Rule
                                   CV-26(b) on issues for which the party bears the
                                   burden of proof.

  03/29/2022                       Deadline for Plaintiff to file amended pleadings.
                                   (A motion for leave to amend is required.)

  04/12/2022                       Disclosure of expert testimony pursuant to Federal
                                   Rule of Civil Procedure 26(a)(2) and Local Rule
                                   CV-26(b) on issues for which the party does not bear
                                   the burden of proof.

  04/12/2022                       Deadline for Defendants to file final amended
                                   pleadings. (A motion for leave to amend is required.)

        1If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in Federal
 Rule of Civil Procedure 6, the effective date is the first business day following the deadline
 imposed.


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  04/26/2022                 Deadline to object to expert testimony on issues for
                             which the party seeking to introduce that testimony
                             bears the burden of proof. Objection shall be made
                             by a motion to strike or limit expert testimony and
                             shall be accompanied by a copy of the expert’s report
                             in order to provide the Court with all the information
                             necessary to make a ruling on any objection.

  05/10/2022                 Deadline to object to expert testimony on issues for
                             which the party seeking to introduce that testimony
                             does not bear the burden of proof. Objection shall be
                             made by a motion to strike or limit expert testimony
                             and shall be accompanied by a copy of the expert’s
                             report in order to provide the Court with all the
                             information necessary to make a ruling on any
                             objection.

  06/07/2022                 Deadline by which the parties shall notify the Court
                             of the name, address, and telephone number of the
                             agreed-upon mediator, or request that the Court
                             select a mediator, if they are unable to agree on one.

  06/21/2022                 All discovery shall be commenced in time to be
                             completed by this date.

  07/12/2022                 Deadline for motions to dismiss, motions for
                             summary judgment, or other dispositive motions.

  07/19/2022                 Mediation must occur by this date.

  12/07/2022                 Notice of intent to offer certified records.

  12/07/2022                 Counsel and unrepresented parties are each
                             responsible for contacting opposing counsel and
                             unrepresented parties to determine how they will
                             prepare the Joint Final Pretrial Order, see
                             (www.txed.uscourts.gov), and Joint Proposed Jury
                             Instructions and Verdict Form (or Proposed
                             Findings of Fact and Conclusions of Law in non-jury
                             cases).

  12/14/2022                 Video Deposition Designation due. Each party who
                             proposes to offer a deposition by video shall serve on



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                                    all other parties a disclosure identifying the line and
                                    page numbers to be offered. All other parties will
                                    have seven calendar days to serve a response with
                                    any objections and requesting cross-examination
                                    line and page numbers to be included. Counsel must
                                    consult on any objections and only those which
                                    cannot be resolved shall be presented to the Court.
                                    The party who filed the initial Video Deposition
                                    Designation is responsible for preparation of the
                                    final edited video in accordance with all parties’
                                    designations and the Court’s rulings on objections.

  12/19/2022                        Motions in limine due.

                                    File Joint Final Pretrial Order.

  01/04/2023                        Response to motions in limine due.2

                                    File Proposed Jury Instructions/Form of Verdict (or
                                    Proposed Findings of Fact and Conclusions of Law).

                                    File objections to witnesses, deposition extracts, and
                                    exhibits, listed in pre-trial order.3 (This does not
                                    extend the deadline to object to expert witnesses.)
                                    Provide the exhibit objected to in the motion or
                                    response.

                                    File Proposed Voir Dire Questions

  Date will be set by               If numerous objections are filed, the Court may set a
  Court, usually within             hearing to consider all pending motions and
  10 days prior to                  objections.
  pretrial conf.

        2 This is not an invitation or requirement to file written responses. Most motions in
 limine can be decided without a written response. But, if there is particularly difficult or
 novel issue, the Court needs some time to review the matter. To save time and space respond
 only to items objected to. All others will be considered to be agreed. Opposing counsel shall
 confer in an attempt to resolve any dispute over the motions in limine within five calendar
 days of the filing of any response. The parties shall notify the Court of all the issues which
 are resolved.

        3 Within five calendar days after the filing of any objections, opposing counsel shall
 confer to determine whether objections can be resolved without a ruling. The parties shall
 notify the Court of all issues which are resolved. The Court needs a copy of the exhibit or the
 pertinent deposition pages to rule on the objection.


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  01/18/2023                 Final Pretrial Conference at 9:00 a.m. at the United
                             States Courthouse located at 7940 Preston Road in
                             Plano, Texas. Parties should be prepared to try the
                             case on this date. All cases on the Court’s Final
                             Pretrial Conference docket for this day have been set
                             at 9:00 a.m. However, prior to the Final Pretrial
                             Conference date, the Court will set a specific time
                             between 9:00 a.m. and 4:00 p.m. for each case,
                             depending on which cases remain on the Court’s
                             docket.

  To be determined           Jury trial at 10:00 a.m. at the United States
                             Courthouse located at 7940 Preston Road in Plano,
                             Texas. Cases that remain for trial following the
                             Court’s Pretrial docket will be tried between
                             February1-28, 2023. A specific trial date in this
                             time frame will be selected at the Final Pretrial
                             Conference.




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                              SCOPE OF DISCOVERY

         Modification. Taking into account the needs of the case, the amount in
 controversy, the parties’ resources, the importance of the issues at stake in the
 litigation, and the importance of the proposed discovery in resolving the issues, the
 Court modifies the parameters of discovery in the following respects. See Fed. R. Civ.
 P. 26(b)(2).

        Disclosure. The parties are reminded of the requirement, set out in this Court’s
 Initial Order Governing Proceedings, to have already disclosed, without awaiting a
 discovery request, information in addition to that required by Federal Rule of Civil
 Procedure 26, including names of persons likely to have, and documents containing,
 information “relevant to the claim or defense of any party.”

        If there are any questions about whether information is “relevant to the claim
 or defense of any party” review Local Rule CV-26(d). A party that fails to timely
 disclose any of the information required to be disclosed by order of this Court or by
 the Federal Rules of Procedure, will not, unless such failure is harmless, be permitted
 to use such evidence at trial, hearing or in support of a motion.

       Electronic Discovery. Electronically stored information will be produced in
 hard copy form or multi-page TIFF format, unless the parties agree otherwise.

       The parties are excused from the pretrial disclosure requirements set forth in
 Federal Rule of Civil Procedure 26(a)(3), as such disclosure is cumulative of this
 Court’s pre-trial order procedures.

                              DISCOVERY DISPUTES

        In the event the parties encounter a discovery dispute, no motions to compel
 may be filed until after the parties fulfill the “meet and confer” requirement imposed
 by this Court’s Local Rule CV-7(h). If the parties are unable to resolve the dispute
 without court intervention, the parties must then call the Court’s chambers to
 schedule a telephone conference regarding the subject matter of the dispute prior to
 filing any motion to compel. After reviewing the dispute, the Court will resolve the
 dispute, order the parties to file an appropriate motion, or direct the parties to call
 the discovery hotline.

       A magistrate judge is available during business hours to immediately hear
 discovery disputes and to enforce provisions of the rules. The hotline number is (903)
 590-1198. See Local Rule CV-26(e).




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                                     RESOURCES

       The Eastern District of Texas website (http://www.txed.uscourts.gov) contains
 information about electronic filing, which is mandatory, Local Rules, telephone
 numbers, general orders, frequently requested cases, the Eastern District fee
 schedule, and other information. The electronic filing HelpLine is 1-866-251-7534.

                                    COMPLIANCE

        A party is not excused from the requirements of this scheduling order because
 dispositive motions are pending, the party has not completed its investigation, the
 party challenges the sufficiency of the opposing party’s disclosure or because another
 party has failed to comply with this order or the rules.

        Failure to comply with relevant provisions of the Local Rules, the Federal
 Rules of Civil Procedure or this order may result in the exclusion of evidence at trial,
 the imposition of sanctions by the Court, or both. If a fellow member of the Bar makes
 a just request for cooperation or seeks scheduling accommodation, a lawyer will not
 arbitrarily or unreasonably withhold consent. However, the Court is not bound to
 accept agreements of counsel to extend deadlines imposed by rule or court order. See
 Local Rule AT-3(j).

                                         TRIAL

        The deadlines for pre-trial matters, such as exchanging exhibits, and
 objections, are intended to reduce the need for trial objections, side-bar conferences,
 and repetitive presentation of evidentiary predicates for clearly admissible evidence.
 Counsel should be familiar with the evidence display system available in the
 courtroom. Copies of exhibits which will be handed to witnesses should be placed in
 a three-ring binder, with an additional copy for the Court. (To make it easy to direct
 the witness to the correct exhibit while on the stand, Plaintiff should use a dark
 colored binder such as black or dark blue. Defendants should use a light-colored
 binder such as white, red, or light blue.) Alternatively, if exhibits have been scanned
 and will be presented via a computer projection system, be sure there is a way for the
 Court to view or read them separately so as to be able to understand motions and
 objections.

       Counsel are responsible for informing their clients and witnesses about
 courtroom dress requirements and protocol, such as silencing pagers and phones, and
 not chewing gum, reading newspapers, or eating.




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                                 OTHER MATTERS

    1. Please note the amendments to the Local Rules regarding motion practice. If
       a document filed electronically exceeds ten pages in length, including
       attachments, a paper copy of the filed document must be sent
       contemporaneously to the undersigned’s chambers in Plano. See Local Rule
       CV-5(a)(9). Courtesy copies over twenty pages long should be bound to the left,
       and voluminous exhibits should be separated by dividers.

    2. If necessary, the parties should notify the Court if assistance is needed in
       selecting a mediator.

    3. Any reply or sur-reply must be filed in accordance with Local Rule CV-6 and
       Local Rule CV-7(f). The parties are reminded that “[t]he court need not wait
       for the reply or sur-reply before ruling on the motion.” Local Rule CV-7(f)
       (emphasis added).




   SIGNED this 17th day of December, 2021.




                           ___________________________________
                           Christine A. Nowak
                           UNITED STATES MAGISTRATE JUDGE




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